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    EXHIBIT A
      Case 2:21-cv-01097-GMN-NJK Document 1-3 Filed 06/09/21 Page 2 of 13
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     Al Lasso, Esq.
2    Nevada Bar No.:8152
     LASSO INJURY LAW,LLC.                                              CASE NO: A-21-83353 C
 3   10161 Park Run Dr., Suite 150                                               Department 97
     Las Vegas, Nevada 89145
4    PH:(702)625-8777
     FAX(702)835-6981
 5
     Attorneyfor Plaintiff
6                                          DISTRICT COURT

7                                    CLARK COUNTY,NEVADA
8                                                   *    *

      ERIC HOWE,an Individual;                           Case No.:
9                                                        Dept. No.:
                              Plaintiff,



      ALBERTSON'S LLC., d/b/a ALBERTSON'S,
      a Foreign Limited-Liability Company; DOES I
      through XX,inclusive, and ROE BUSINESS
      ENTITIES I through XX,inclusive,

                              Defendants.



17                                             COMPLAINT

18          COMES NOW,Plaintiff, ERIC HOWE,by and through his attorney of record, AL LASSO,

19   ESQ., of LASSO INJURY LAW,LLC.,for his causes of action against Defendants ALBERTSON'S

20   LLC. d/b/a ALBERTSON'S ("Defendants"); alleges as :follows.

21                                         GENERAL ALLEGATIONS

22
            1.      That at all times herein mentioned, Plaintiff, ERIC HOWE, was, and is an individual
23

24   residing in the County of Clark, State of Nevada.

25          2.      At all times relevant hereto, upon inforamtion and belief, Defendant, ALBERTSON'S

26   LLC. d/b/a ALBERTSONS,(hereafter "Defendant" or "ALBERTSON'S"), is and was a Foreign
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     Limited-Liability Company, doing business in the County of Clark, State of Nevada. Upon
 1

2    information and belief, this Defendant owned, operated or was otherwise responsible for the business

3    located at 4055 S. Durango Dr. Las Vegas, NV 89147. This business is also referred to herein as "the

4    Subject premises" or "the Subject Supermarket."
5
            3.      Defendant ALBERTSON'S owned the Subject premises at the time of the incident
6
     described herein.
7
            4.      Defendant ALBERTSON'S operated the Subject Premises at the time of the incident
8

9    described herein.

            5.      That the true names and capacities, whether individual, corporate, agents, associate,

     or otehrwise of Defendants, DOES I through XX and/or ROE BUSINESS ENTITIES I through XX,

     inclusive, are individuals and/or entities of unknown form whose names and capacities are unknown

     to the Plaintiff, who,therefore, sue said Defendants by said fictitious names. The Plaintiffis informed

     and believe; and thereon allege, that each of the Defendants designated as DOE and/or ROE

     BUSINESS ENTITIES„ are any one of the following:


           (a)      A party responsible in some manner for the events and happenings herein
18
     referred to, and in some manner proximately caused the injuries and damages thereby to the Plaintiff
19
     as herein alleged;
20
           (b)      Parties that were the agents, servants, employees, and contractors of the
21

22   Defendants, and each of them, acting within the course and scope of their agency, employment, or

23   contract;

24

25

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            (c)     Parties that owned,lease, manage,operate, secure, inspect, repair, maintain, entrusted
 I

2    and/or are responsible for the premises located at 4055 S. Durango Dr. Las Vegas, NV 89147 and/or

 3   the defective condition which caused Plaintiff's injuries and damage, as described herein;

4          (d)      Parties that have assumed or retained the liabilities of any of the Defendants by virtue
5
     of an agreement, sale, transfer or otherwise;
6
           (e)      Parties or contractors who managed, maintained, • repaired or cleaned the area,
7
     including nearby equipment, where the incident occurred;
8

9          (f)      Parties that performed repairs or made modifications to the area where the incident

     occurred;

           (g)      Parties responsible for performing inspections of the area where the incident occurred

     so as to ensure its safety to patron; and/or

           (h) —Pat-ties responsible for constructing, designing or providing engineering services for

     the area where this incident occurred.

               6.   Plaintiff specifically complains and alleges one or more causes of action against these

17   parties. However, as of the filing of this Complaint, Plantiff is not sure as to weather those entities

18   are individuals, partnerships, limited partnerships, coporations, associations of individuals and

19   business, or some other form of busniness ownership. When the same have been ascertined by the
20
     Plaintiff, together with the appropriate charging allegations, Plaintiff will ask leave of this Court to
21
     amend this Complaint to insert the true names and capacities of said Defendants, DOES I through
22
     XX and/or ROE BUSINESS ENTITIES I through XX,inclusive and to join such Defendants in this
23
     action.
24

25

26

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                                               COMMON FACTS
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2            7.      On May 5, 2019,during normal business hours,PlaintiffERIC HOWE,A 51-year-old

3    man, entered the Subject Supermarket to shop.

4            8.      After entering the market, Plaintiff ERIC HOWE was shopping in the store when
5
     suddenly and without warning, he slipped on a liquid substance on the floor, causing him to violently
6
     fall to the floor and sustain serious injuries.
7
             9.      At the time of Plaintiff ERIC HOWE'S fall, and at the location of his fall, there was
8

9    no barrier or sign indicating the prescene of any liquid substance. This liquid substance created a

     hazard for patrons such as the Plaintiff ERIC HOWE. The hazard is also referred to herein as "the

     condition."

             10.     Defendant ALBERTSON'S possesses video of the Subject Incident.

             11      As a result of Plaintiff's fall, he suffered serious injuries and damages, including but

     not limited to, a right shoulder tear, posterior disc protrusion C2-3, C3-4, C4-5 and C6-7,

     impingement of the right shoulder, posterior disc bulge C5-6, right annular tear L3-4 and L5-S1,

     posterior disc bulge L4-5, Posterior disc protrusion L3-4, L5-S1 with severe narrowing.

             12.     That Defendants, and each of them, owed to the general public and, specifically to

     Plaintiff a duty to provide safe ingress and egress from, in, through and around the business

     establishment of the Defendants.

             13.     That on or about May 5, 2019, the Defendants, and each of them, intentionally,

     negligently, carelessly and/or recklessly failed to inspect, maintain, own, control, or manage the
23
     aforementioned premises by permitting the aforementioned dangerous and inappropriately inspected
24

25   and maintained area to develop and remain in the common area floor in an area where the Defendants,

26

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                         and each of them, knew, or through the exercise of reasonable diligence, should have known, that
                     1

                    2    Plaintiff and other invitees would be on the premises.

                    3                                        FIRST CAUSE OF ACTION

                    4                                     Negligence-Against All Defendants)
                    5
                                 14.    Plaintiff repeats and realleges each and every _fact set forth in the preceding
                    6
                         paragraphs, as though set forth in full at this time.
                    7
                                 15.    Pursuant to the preceding paragraph, Plaintiff alleges that, at all relevant times,
                    8

                    9    Defendants and each of them were responsible for maintaining the area that Plaintiff alleges herein

                    10   was both unreasonably dangerous arid caused Mr. Howe to fall to the ground.
0-1 2
)-1 in              11           16.    It was the duty of the Defendants, and each of them, to own, maintain, manage,
't4   VI            12   supervise, entrust and operate said premises so as not to negligently, carelessly and recklessly cause
             `41?
       g ( 1 13
        cir es1          injury or damage to others, including Plaintiff ERIC HOWE,but the Defendants, and each of them,
            N
                14
5
.1                       were negligent in ways that included, but were not limited to, the following:
0 1-1               15
      c4-)                     (a)      The Defendants, individually or jointly, maintained, controlled, and/or created a
)-4                 16

                    17   dangerous condition on the premises;

                    18         (b)      The subject condition was dangerous, and Defendants did not make any efforts to warn

                    19   others, including the Plaintiff, regarding the condition, knowing that its presence reasonably and
                    20
                         foreseeably could, and would, result in serious injuries;
                    21
                               (c)      The dangerous condition was created by the Defendants' agents' or employees'
                    22
                         negligence, and acts and/or omissions occurred within the scope of employment or work with
                    23
                         Defendants;
                    24

                    25         (d)       Its is further alleged that Defendants, and each of them, and their employees,

                    26

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     contractors and/or subcontractors, had sufficient actual and/or constructive notice of the dangerous
1

2    condition in sufficient time before the above-described incident, in order to take reasonable measure

3    to protect patrons, including Plaintiff; •
4                    Defendants, and each of them, failed to provide full, fair, and adequate warning of
           (e)
5
     dangers which could be incurred in the use of the flooring, which proximately caused the injuries
6
     suffered by Plaintiff as herein alleged; and
7
           (f)       The Defendants knew or should have known that a danger existed, Nonetheless,
8

9    Defendants, and each of them, did not take steps to alleviate or correct the dangerous condition, nor

     to warn of its existence.

             17.     As a direct and proximate result of the aforesaid negligence, carelessness and

     recklessness of the Defendants, arid each of them, the PlaintiffERIC HOWE sustained injuries to his

     body, all.of which caused and will continue to cause general damages in the form ofphysical, mental,

     and pain and suffering in an amount in excess of $15,000.00, to be proven at trial.

             18.     As a direct and proximate result of the aforesaid. negligence, carelessness and

17   recklessness of the Defendants, and each of them, the Plaintiff ERIC 1-10WE was required to incur

18   medical and related expenses in an amount in excess of$15,000.00, to be proven at trial.

19           19.     As a direct and proximate result of the aforesaid negligence, carelessness and
20
     recklessness of the Defendants,,and eaCh of them, the Plaintiff ERIC HOWE will be required in the
21
     fliture to incur expenses for and to employ physicians, nurses, physical therapists, and to procure
22
     hospitalization, medicine, and general medical care and attention, in a gross amount in excess of
23
     $15,000.00,to be proven at trial.
24

25           20.     Plaintiff has secured the services of an attorney in order to prosecute this action and,

26   therefore, Plaintiff is entitled to reasonable attorneys' fees and costs incurred herein.
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                                      SECOND CLAIM FOR RELIEF
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2                      (Negligent Inspection/Maintenance-Against All Defendants)

 3           21.     Plaintiff repeats and realleges each and every fact and allegation contained in the

4     above paragraphs, and incorporates the same by reference as though fully set forth herein.
 5
             22.     Plaintiffis informed and believes and thereon alleges that on or before the times herein
6
      mentioned, Defendants, and each ofthem, did so negligently inspect and/or maintain the location of'
 7
      the common area referred to as the flooring and/or was allowed to develop and to remain in the
 8

9     common area and directly in the path ofpedestrian invitees, and,specifically, Plaintiff, ERIC HOWE.

             23.     That said Defendants owed Plaintiff a duty ofreasonable care in the conduct of their

      respective businesses to inspect and/or maintain the common area flooring free from defects and/or

      dangerous conditions which would allow a defect to develop and remain in an area of pedestrian

      invitee traffic which could,thereby, cause harm to human beings and, specifically, to Plaintiff, ERIC

      HOWE.

             24.     That Plaintiff, ERIC HOWE'S, injuries and damages as herein alleged were the direct

:17   and proximate result of the negligence of the Defendants, and each of them, in inspecting and/or

18    maintaining said common area which said Defendants knew was to be used by business invitees such

19    as Plaintiff, and by the general public, and which Defendants knew, or in the exercise of reasonable
20
      care, should have known contained a dangerous condition or defect which creiited a risk of harm to
21
      Plaintiff ERIC HOWE.
22
             25.     That as a direct and proximate cause of the aforesaid negligence, carelessness and/or
23
      recklessness of the Defendants, and .each of them, and herein alleged, and in inspecting and/or
24

25    maintaining the subject premises, Plaintiff, ERIC HOWE,sustained injuries, suffered a shock to his

26    system, emotional trauma, and great pain, suffering; that further, Plaintiff, ERIC HOWE, suffered
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                serious injuries and damages, including but not limited to, a right shoulder tear, posterior disc
            1

           2    protrusion C2-3, C3-4, C4-5 and C6-7,impingement ofthe right shoulder, posterior disc bulge C5-6,

           3    right annular tear L3-4 and L5-S1, posterior disc bulge L4-5, Posterior disc protrusion L3-4, L5-S1

           4    with severe narrowing.
           5
                       26.     That as a direct and proximate result of the aforesaid negligence of the Defendants,
           6
                and each of them, Plaintiff, ERIC HOWE, has been required and may be required in the future to
           7
                incur expenses for and to employ physicians, nurses, physical therapists, and to procure x-rays,
           8

           9    medications and general medical care and attention.

           10          27.     That as a further direct and proximate result of the negligence of the Defendants, and

           11   each of them, Plaintiff, ERIC HOWE, has sustained injuries and damages in excess of Fifteen
           12   Thousand Dollars ($15,000.00).
           13
                       28.     By reason ofthe premises, and as a proximate result thereof, Plaintiff has been caused
           14
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                to incur expenses as and for attorney's fees and costs of suit herein and Plaintiff is entitled, pursuant
           15
                to contract, rule or statute, or as an element of damages, to compensation for those expenditures in
           16

           17   an amount to be determined by the Court, as well as for the costs of suit herein.

           18                                      THIRD CAUSE 01? ACTION

           19                                       (Third Party Beneficiary)
           20
                       29.     Plaintiff repeats and realleges each and every fact and allegation contained in the
           21
                above paragraphs and incorporates the same by reference as though fully set forth herein.
           22
                       30.      Plaintiff, ERIC HOWE, as a patron of ALBERTSON'S, was a Third-Party
           23
                Beneficiary of contracts and/or agreements with respect to the construction, operation, maintenance
           24

           25   or repair of the subject floor.

           26

           27                                                 Page 8 of 12
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       31.      It was foreseeable to Defendants, and each of them, that patrons such as Plaintiff,

ERIC HOWE,were relying upon the reasonably safe performance of those agreements/policies and

or contracts.

       32.      That Defendants' failure to perform pursuant to those agreements/policies and/or

contracts.allowed for the existence of reasonably safe conditions on May 5, 2019, which caused

Plaintiff to incur all of the previously itemized injuries and damages previously listed within this

Complaint.

                                 FOURTH CAUSE OF ACTION

          (Negligent Hiring, Supervision, and Training-Against All Defendants)

       35.      The Plaintiff hereby repeats and realleges each and every fact set forth in the

preceding paragraphs, as though set forth in full at this time.

       36.      That Defendants acted in a negligent manner, including, but not limited to, failure

to:

                (a)    Establish, implement, maintain, and enforce proper policies and .procedures

for employees,including maintenance crew, office staff, and agents under the control of

Defendants;

                (b)    Establish, implement, maintain, and enforce proper policies and procedures

for maintenance,repair, inspection, and general upkeep ofthe subject premises,including the floor;

                (c)    Establish, implement, maintain, and enforce proper policies and procedures

for warning guests, including Plaintiff, ERIC HOWE,of potentially dangerous conditions;

                (d)    Properly hire adequate, experienced, and competent employees who are able

to warn customers, including Plaintiff, ERIC HOWE,of potentially dangerous conditions;

                (e)    Properly pre-screen potential employees by conducting background checks
                                              Page 9 of 12
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     and other similar investigations into potential employees; resume, prior to employment retention;
 1

2                    f      Properly and adequately supervise and manage employees once there were

3    hired;
4                           Properly and adequately train employees and instruct them as to their job
                    (8)
5
     duties and responsibilities;
6
                    (h)     Properly and adequately oversee, control, issue regulations regarding the
7
     conduct of employees;
8

9                    CO     Properly and adequately upkeep, inspect, maintain, and repair the Subject

10   Premises common areas, and the floor of the Subject Premises;

11                  (i)     Properly and adequately delineate maintenance, inspection, and repair job
12   duties and responsibilities to employees, and agents, acting on their behalf; and
13
                    (k)     Properly, adequately, and responsibly setup mechanisms to ensure that all
14
     areas and equipment,including the subject premises, are reasonably kept in proper and working
15
     order for customers,including Plaintiff ERIC HOWE.
16

17            37. • As a direct and proximate result of the aforesaid negligence, carelessness and

18   recklessness of the Defendants, and each of them, Plaintiff sustained injuries to his body, all of

19   which caused and will continue to cause general damages in the form of physical, mental, and pain
20
     and suffering in an amount in excess of$15,000.00;
21
              38.    As a direct and proximate result of the aforesaid negligence, carelessness and
22
     recklessness of the Defendants, and eaCh of them, Plaintiff was required to incur medical and
23
     related expenses in an amount to be proven upon trial.
24

25            39.    As a direct and proximate result of the aforesaid negligence, carelessness and

26   recklessness of the Defendants, and each of them, Plaintiff will be required in the future to incur
27                                               Page 10 of 12
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                 expenses for and to employ physicians, nurses, physical therapists, and to procure hospitalization,
            1

            2    medicine, and general medical care and attention, all in amounts to be proven upon trial.

            3           40.     As a further direct and proximate result, Plaintiff suffered a loss of past and future

            4    household services.
            5
                        41.     Plaintiff, ERIC HOWE has been required to engage the services of LASSO INJURY
            6
                 LAW, LLO. to prosecute this matter, and Plaintiff ERIC HOWE is entitled to reasonable attorney's
            7
                 fees and costs therefor.'
            8

            9           WHEREFORE, Plaintiff herein, expressly reserving his right to amend this Complaint up to

            10   and including the time of trial to include all items and amounts of damages not yet specifically

d 74. ,n         ascertained, prays this Court for its judgment against the Defendants, and each of them, as follows:
p.'
  's•00 c> 12
                        1.      For general damages and out-of-pocket expenses in excess of$15,000.00;

     Z t4) 13           2.      For special damages in excess of $15,000.00;
 • el  °°.
5 •.4 c  , 14
   ▪   N
                        3.      For Plaintiff's reasonable attorney's fees;
0   • "4'   15
                        4.      For Plaintiff's costs and disbursements of suit; and,
            16

            17           5.     For such other and further relief as the Court may seem just and equitable in the

            18   premises.
                                         _
            19          DATED this2 day of April 2021.
            20
                                                               LASSO INJURY LAW
            21

            22
                                                               Al Lasso, s'‘
            23                                                 Nevada Bar No. 008152
                                                               10161 Park Run Dr., Suite 150
            24
                                                               Las Vegas, NV 89145
            25                                                 (702) 835-6980— Telephone
                                                               Attorney fir .Plaintill
            26

            27                                                Page 11 of 12
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                                                                 DEMAND FOR JURY TRIAL
                       I

                       2          Plaintiff hereby demands a jury trial as a matter of right.
                                   „
                       3    DATED this0day of April 2021.

                       4                                                 LASSO INJURY LAW
                       5

                       6
                                                                         Al Lasso, sq.
                       7                                                 Nevada Bar No. 008152
                                                                         10161 Park Run Dr., Suite 150
                       8                                                 Las Vegas, NV 89145
                       9                                                (702)835-6980— Telephone
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